                                                                                                           I
                             UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF KANSAS

                                   Civil Court, Kansas City, KS                     2:25-cv-02199-TC-ADM

ANGELIINA LYNN LAWSON, Plaintiff,
vs.
HON. ERIC W. GODDERZ (in his individual and official capacity), ANDERSON
COUNTY DISTRICT COURT, STATE OF KANSAS, Defendants.

Case No: - - - - - - -

COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF AND DAMAGES
UNDER 42 U.S.C. §1983 AND THE AMERICANS WITH DISABILITIES ACT (ADA)
TITLEII •


PRELIMINARYSTATEMENT '

1. This is a civil rights and disability rights action seeking dual-track relief:

         (1) declaratory and injunctive relief to stop ongoing constitutional violations; and
                                                                   • '                I



         (2) compensatory and punitive damages through a jury trial for past harms caused by the
         Defendants' misconduct. Plaintiff asserts violations of the First, Fifth, and Fourteenth
         Amendments, as well as Title II of the ADA.

2. The Defendants' conduct has included retaliation, denial of accommodations, misuse of
judicial discretion, defamation, and unlawful diversion of support payments, all resulting in loss
of parental rights, financial damage, and emotional injury.

3. Plaintiff is in~~gent and submits a Poverty Affidavit in s,upport of fee waiver.

4. She further requests the Clerk of Court to issue all necessary summonses on her behalf and
that the Court enter emergency injunctive relief to prevent irreparable harm.

FACTUAL ALLEGATIONS


      5. Anderson County District Court is the only court that has ever held jurisdiction over
         Plaintiff's divorce, custody, and support matters.
      6. Neither the Plaintiff, her son, nor the opposing party reside in Anderson County. Plaintiff
         currently lives in Leavenworth County; the opposing party lives in Johnson County.
      7. The court has refused to transfer venue to a proper jurisdiction under K.S.A. 60-609 and
         K.S.A. 23-3301.
   8. Plaintiff has a documented disability and has submitted formal ADA accommodation
        requests, including for remote access, written communication, and technological
        assistance. These were ignored or denied.
   9. The presiding judge, Hon. Eric W. Godderz, refused to recuse himself after Plaintiff
        raised claims of bias and retaliation related to her disability, federal grievance filings, and
        protected speech.
   10. Under this judge's control, Plaintiff was punished for engaging in First Amendment
        activity (filing complaints and grievances), resulting in the loss of all custody rights, zero
        contact and limited to two hours of supervised visitation per week through The Layne
        Project to her son who has a documented disability and her son's ADA advocate.
   11. Court used Plaintiff's disability against her while denying reasonable accommodations.
   12. For over two years, Plaintiff has been unlawfully denied enforcement of alimony and
        child support orders without justification. Instead, the court has diverted these arrears to
        pay third-party expenses, including therapist and Guardian ad Litem fees-constituting
       an unauthorized seizure in violation of the Takings Clause of the Fifth Amendment to
       the United States Constitution.
   13. The court's refusal to act on key motions and enforceable orders, and its continued
       retention of venue in an improper county, has caused extreme hardship, denied access to
       justice, and undermined the parent-child relationship.
   14. Plaintiff is now forced to proceed pro se due to attorney misconduct and financial
       exhaustion.
   15. Additionally, Plaintiff's alimony arrears, totaling over $32,000, were improperly diverted
       by court order. These funds were originally ordered for Plaintiff's direct support.
       However, the court re-routed the arrears to pay dramatically inflated Guardian ad Litem
       (GAL) invoices. Within a single billing cycle, the GAL's invoice more than tripled in
       unexplained fashion. This diversion of support funds-without notice, hearing, or
       oversight-has created financial chaos, obstructed custody enforcement, and resulted in a
       deprivation of Plaintiff's protected property interests under the Fifth and Fourteenth
       Amendments.

CLAIMS FOR RELIEF

COUNT I - 42 U.S.C. §1983 - Denial of Due Process (Fourteenth Amendment)

   16. Defendants, acting under color of law, denied Plaintiff meaningful access to a fair
       tribunal by refusing to rule on or hear motions, blocking venue transfer, and enabling
       retaliatory judicial conduct.
   17. These acts constitute a denial of due process and equal protection.

COUNT II-Violation of Title II of the ADA

   18. Plaintiff is a qualified individual with a disability.
   19. Defendants failed to provide reasonable accommodations, failed to modify policies to
       ensure access, and used Plaintiff's disability against her in proceedings.
   20. These failures resulted in exclusion from court services in violation of Title II of the
       ADA.
 COUNT III - First Amendment Retaliation

    21. Plaintiff engaged in protected First Amendment activities by .filing ethics griey~ces and
        ADA complaints.                                                                        •
    22. Defendant Godderz retaliated by curtailing custody access and punis~g Plaintiff for
        ~serting her rights.             .                          •          . ' • ' ·'' • ' •

COUNT VII - UNCONSTITUTIONAL TAKING AND DEPRIVATION OF PROPERTY
(42 U.S.C. §1983; Fifth & Fourteenth Amendments)

    23. Plaintiff alleges that befendants, acting under color of state law, unlawfully diverted
        '$32,000 in alimony arrears previously ordered for her direct support. This diversion was
         ordered without notice, hearing, or judicial oversight, and the funds were redirected to
         satisfy Guardian ad Litem fees that had mysteriously tripled without explanation.
                                                      '
    24. This act'constitutes an unlawful taking of private property for non-public use, in
                                                                                                     1
         violation of the Takings Clause of the Fifth Amendment to the United States
         Constitution. Further, the court's failure to provide notice or opportunity to be heard
             ·, {                    ' l  'I!'. h,     •.      '   ,    ,   .  II '       f           .      l I
         constitutes a denial of due process under the Fourteenth Amendment.                       .
    25. Plaintiff seeks compensatory and punitive damages for the financial injury and emotional
        harm caused by the unconstitutional
                                       4  t'   t
                                                 seizure
                                                    I , , ·,
                                                             and misuse
                                                                     ! ·
                                                                     ~
                                                                        of her legally
                                                                         1
                                                                                             ~warded
                                                                                  , ., ... >:~  f!  •
                                                                                                     support.
                                                                                                        _)   ?

        funds.

REQUEST FOR RELIEF

WHEREFORE, Plaintiff respectfully requests that this Court enter judgment in her favor and
                                                   I       O    .
                                                       -   \   .'•


A. Issue a Declaratory Judgment that Anderson County's continued assertion of jurisdiction
over Plaintiff's family law matters, violat~s the U.S. Constitution and the Americ.ans with,
DisabiHties ~ct (ADA);       •       -                                       ••        •

B. Grant injunctive·relieftransferringjurisdiction of all pending family-related proceedings.to a
proper and lawful venue-specifically, Johnson County or Leavenworth County, Kansas;

C. Order the preservation and continuation of supervised visitation through The Layne
Project or an equivalent neutral provider until full judicial review is complete;

D. Terminate the Guardian ad Litem (GAL) appointment and all associated court actors
who have engaged in or facilitated retaliatory conduct ag~inst Plaintiff;
E. Declare that the court's redirection of alimony arrears-without notice or hearing-to
cover inflated third-party invoices constitutes a violation of both the Fifth Amendment's
Takings Clause and the Fourteenth Amendment's Due Process Clause;

F. Award compensatory damages in excess of $1,500,000, including but not limited to
financial loss, emotional distress, reputational harm, ADA retaliation, and the unconstitutional
diversion of court-ordered ~support. Plaintiff further seeks punitive damages as appropriate
against individual defendants, and all other relief dee~ed just by the Court.

G. Enter a Temporary Restraining Order and Preliminary Injunction to immediately
prevent further retaliatory action, ADA discrimination, or obstruction of parent-child contact
during the pendency of this matter;
                            '                                                                                                                                '
H. Grant Plaintiff's application. to proceed in for~a pauperis,I waiving all filing fees and
                                           f
                                                   ••       'i              j   I                             .

associated costs pursuant to her sworn oy.erty tf?4~vit;
                  ,f                   1       1        r        ....   1           I   ~l   I   i                 '             '          ,        •
I. Direct the Clerk of Court to issue summonses and any further documents necessary to
                                                                            ~                             A                I I       ,          r"

effectuate service;                      ,r


J. Award Plaintiff her costs of litigati~n and such further relief as the Court deems just and
proper.
                                                                                                                       j         .   t .l
SUPPLEMENTAL PRAYER FOR RELIEF
                       'I                                                                            ,,                                              ..>:'
Plaintiff further requests that this Court declare the following actions unl~wful and ' 1 1•
unconstitutional:
         ,   'I                                                                                                   fl


   •   The denial of ADA accbmmodations in state court proceedings;
   •   The improper and unlawful retention of venue in violation of statutory jurisdiction and
       fairness principles;
   • . The discriminatory use of Plaintiff's disability status to deny her meaningful access to
       custody proceedings and court relief.

Plaintiff also seeks damages fo~:.

   • Ongoing emotional distress caused by prolonged separation from her minor child;
   • .Financial and procedural burdens stemming from venue mismanagement, denied filings,
      and suppressed relief;
   • Continued violation of her constitutional rights to due process, equal protection, and
      access to justice.
EVIDENCE AND EXHIBITS

Plaintiff intends to submit the following exhibits in support of this Complaint:

    •   ADA accommodation requests submitted to the Kansas courts;
    •   Correspondence and affidavits denied or misfiled by court clerks;
    •   Affidavits regarding therapists, GAL records, and ethics complaint filings;
    •   Judicial orders improperly issued prior to service or in conflict with procedural nonns;
    •   Documentation of supervised visit restrictions and custody obstruction.

PRESERVATION OF EVIDENCE

Plaintiff requests that all Defendants be instructed to preserve all documents, emails,
communications, and court records related to Plaintiff, her minor child, ADA filings, financials,
custody proceedings, and all matters cited in this Complaint, pursuant to Federal Rule of Civil
Procedure 37.

Dated: April 14, 2025
Respectfully submitted,




           ve
Leavenworth, KS 66048
AngeliinaCourtRecords@gmail.com
(913) 972-1661



JURY TRIAL DEMAND

Plaintiff demands a trial by jury. Pursuant to Local Rule 3.1 and 28 U.S.C. § 1391, Plaintiff
designates the United States District Court for the District of Kansas, Kansas City Division,
located in Kansas City, Kansas, as the proper venue for a jury trial in this matter.
All events giving rise to the claims occurred within the jurisdiction of this Division.
·---·- - - - - -- -
1




         Date: _ _ _ _ _ _ _ _ _ _ _ __


         Signature of Clerk or Deputy Clerk: _ _ _ _ _ _ _ _ _ _ _ __


         Seal or Time-Stamp:




         Respectfully submitted,




        Angeliina L
        1914 5th Ave
        Leavenworth, KS 66048
        Email: AngeliinaCourtRecords@gmail.com
        Phone: (913) 972-1661
